    Case 1:25-cv-00352-CJN         Document 24-15     Filed 02/11/25   Page 1 of 4




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )           Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                            DECLARATION OF ZEB DOE

      I, Zeb Doe, declare the following under penalties of perjury:

                   1. I am over 18 years of age and competent to give this declaration.

         This declaration is based on my personal knowledge, information, and

         belief.

                   2. I have familiarity with the formulation and execution of USAID’s

         budget process.

                   3. Mr. Marocco’s Declaration stated it was impossible to review

         existing programs without shutting everything down.

                   4. Having over a decade of experience with USAID’s programs,

         budget processes, and program reviews, I would say this assertion is

         incorrect.

                   5. Comprehensive reviews are possible and have previously been

         conducted: It is possible to conduct a comprehensive review of foreign
Case 1:25-cv-00352-CJN    Document 24-15     Filed 02/11/25   Page 2 of 4




    assistance without shutting down all programs and activities. There is

    precedent in the Quadrennial Diplomacy and Development Review (QDDR)

    exercises that took place in 2010 and 2014. These comprehensive reviews

    were in-depth studies of Department of State and USAID operations and

    programs taken to better align them with policy and strategic priorities,

    including in foreign assistance. Neither QDDR effort involved shutting

    down all (or any) programs so that the review could be conducted.

          6. Data and information systems are sufficient to form the

    foundation of a strategic review: Since the time of the QDDRs, the systems

    and information available to conduct comprehensive reviews have only

    improved. The FACTS Info NextGen system contains detailed information

    on all USAID and State foreign assistance. It allows for reporting and data

    export across a range of foreign assistance program information. This

    includes Operational Plans (OPs) – an annual budget planning document

    that describes how State and USAID operating units will use the foreign

    assistance funds allocated to them. They include detailed information on

    individual implementing mechanisms and activities (including narrative

    program descriptions, implementing partner names, and funding), budget

    allocations by accounts and program areas, funding attributions and

    narratives related to key issues, and more. It includes similar

    programmatic information on the PEPFAR Country and Regional

    Operational Plans (COP/ROP). It also includes Performance Plans and
Case 1:25-cv-00352-CJN     Document 24-15        Filed 02/11/25    Page 3 of 4




    Reports (PPRs), which are the annual data call and record for performance

    information across all State and USAID operating units that implement

    foreign assistance programs – these consist of indicator data, associated

    descriptive   data,    and    key    issue      narrative      reporting.     The

    foreignassistance.gov website also provides comprehensive information on

    foreign assistance activities and financial flows – including obligations and

    disbursements associated with various program areas and mechanisms.

    USAID’s reporting on this website is consistently the most complete and

    up-to-date of any reporting department or agency. All of this information is

    readily available and accessible to State and USAID staff and leadership

    for compilation and analysis to contribute to a review without the need to

    shut down any program or activity.

          7. Staff   and   subject   matter   experts     are     necessary     for   a

    comprehensive review: While data such as that in FACTS Info NextGen

    would form the foundations for such a review, interpreting and reviewing

    these data, and responding to the specific, tailored questions of a

    comprehensive assistance review would require significant staff time

    dedicated by subject matter experts across disciplines. Additionally, the

    data captured in these systems is not necessarily tailored to or

    comprehensive of the type of questions and topics that may be covered in a

    review of alignment to new Administration priorities – the data are from a

    point in time. They should be complemented by staff analysis and
     Case 1:25-cv-00352-CJN      Document 24-15      Filed 02/11/25    Page 4 of 4




          contributions to provide the most accurate information to inform a review.

          If a large number of staff are on administrative leave or otherwise not

          available to participate due to being locked-out of Agency systems, then the

          relevant subject matter experts would not be available to answer detailed

          questions on specific activities nor provide needed information to make a

          determination on the alignment of the activities with the Administration’s

          priorities. Particularly when Administration priorities are being newly-

          articulated or are emergent, both foundational program data and staff

          subject matter expertise and analysis (including from technical experts,

          activity managers, program and budget analysts, evaluators, etc.) are

          necessary to effectively carry out a comprehensive review.



I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 11, 2025.



                                             /s/ Zeb Doe
                                             Zeb Doe
